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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                            ALEXANDRIA DIVISION



   United States of America, et al.,

                       Plaintiff,
                                             Case No. 1:23-cv-00108-LMB-JFA
        v.
                                             The Honorable Leonie M. Brinkema
   Google LLC

                        Defendant.




       DECLARATION OF RON DAVIS IN SUPPORT OF NON-PARTIES OMNICOM
       GROUP INC., DDB WORLDWIDE COMMUNICATIONS GROUP LLC, GSD&M
         LLC, AND OMD USA LLC’S MEMORANDUM IN RESPONSE TO, AND IN
      SUPPORT OF, THE PARTIES’ MOTIONS TO SEAL (ECF NOS. 605, 612, 651, 661,
                                 667, and 712)
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                                 DECLARATION OF RON DAVIS

         I, Ron Davis, declare as follows:

         1.        I am the Senior Vice President, Lead Contracts Officer, Team DDB at DDB

  Chicago Inc. (“DDB”), a subsidiary company of Omnicom Group Inc. (“Omnicom”). I have

  personal knowledge of the facts set forth herein and if called as a witness could and would testify

  competently to them. I make this declaration in support of Omnicom’s Motion to Seal Portions of

  the Parties’ Briefing on Summary Judgment.

         2.        DDB is an integrated creative advertising agency that creates advertising and

  marketing campaigns on behalf of clients. These campaigns are designed to meet each client’s

  specific business or awareness goals and are a product of extensive client input, market research

  and creative brainstorming. As a subject matter expert in the creative advertising and marketing

  space, DDB is intimately familiar with the platforms, products, and tools available to advertising

  and marketing clients.

         3.        I have been the lead contracts expert on the Army’s account with DDB for the last

  five years. As part of my responsibilities, I manage contracts for an integrated team of ten agencies

  providing media, advertising and marketing services for the Army. Prior to my time in the private

  sector, I served twenty-one years in the U.S. Army and Ohio Army National Guard, retiring as a

  Major in 2006.

         4.        DDB’s partnership with the Army began in 2018 when DDB submitted a bid as the

  prime contractor in response to the Army’s open competition for full-service media

  planning/buying, advertising and marketing services. In submitting its bid, DDB leveraged its

  (and its team members’) expertise in the industry to create competitive spending allocations and

  recommendations across media, advertising and marketing channels. The substance of these




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  recommendations make up a proposed full-service media, advertising and marketing plan and

  determine what DDB is then authorized by the Army to spend. This proprietary information plays

  a significant role in DDB’s success in the industry.

         5.      Exhibit 97 to the Declaration of Bryon Becker in Support of Defendant’s Motion

  for Summary Judgment (ECF Nos. 595-7, 604-4) includes data from two Google platforms,

  DV360 and Google Ads, relating to purchases made by DDB on behalf of the Army. This data

  breaks down Google’s exact revenue amount for distinct DDB media purchases. These itemized

  revenues reflect exact investment amounts that DDB was authorized to execute on behalf of the

  Army pursuant to the scope of work. This information represents DDB’s confidential investment

  strategy in relation to DDB’s media, advertising and marketing plan devised for the Army.

         6.      Exhibit 92 to Plaintiff’s Opposition to Defendant’s Motion for Summary Judgment

  (ECF No. 665-11) is an actual procurement contract from the Army authorizing a five-year

  contract with DDB for its media, advertising and marketing services. The itemized pricing set out

  in this contract represents DDB’s proprietary, confidential, and competitively sensitive winning

  bid for the Army’s business.

         7.      Exhibit 140 to Defendant’s Reply in Support of its Motion for Summary Judgment

  (ECF No. 709-8) is a collection of vouchers and invoices tracking a national media investment

  made by DDB through Google on the Army’s behalf for March 2022. These include an invoice

  from Google to the Omnicom agency OMD USA LLC (“OMD”), an invoice from OMD to DDB,

  an invoice from DDB to the Army, and a payment voucher from the Army to DDB. These receipts

  provide the exact investment amount that DDB was authorized to execute through Google on

  behalf of the Army. This information represents DDB’s confidential investment strategy in

  relation to DDB’s media, advertising and marketing plan devised for the Army.




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         8.      The fixed monthly and annual cost pricing set forth in DDB’s winning bid and the

  final investment costs reflect DDB’s recommended optimal staffing mix of media, advertising and

  marketing personnel required to meet the Army’s recruitment goals. Public disclosure of these

  specifics, particularly the spend amounts, would be detrimental to both the Army and DDB.

  DDB’s discussions, analyses, and calculations relating to these spend proposals, including final

  bid amounts, have substantial economic and competitive value to DDB. DDB spends a significant

  amount of money and resources to develop the specialized knowledge of the media, advertising

  and marketing marketplace required to create its commercially competitive spend proposals.

         9.      Public disclosure of this contract and the information contained within it would be

  detrimental to both the Army and DDB. Public disclosure would reveal confidential Army

  information and provide insight into their recruitment strategies and objectives, which are shaped

  by the work of DDB. Public disclosure of the Army’s specific mix of media, advertising and

  marketing personnel investments would provide competing recruiting entities and DDB’s

  competitors an inside look into how DDB operationalizes a full-service media, advertising and

  marketing account for specific clients. This is the exact sort of analysis and planning upon which

  DDB competes to remain competitive in the market.




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         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct.

         Executed on June 12, 2024, in Chicago, Illinois.




                                              Ron Davis




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